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Figure 68 Laser Scans of 1-B-1-E and 39-E

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(c) (d)
Figure 69 Photographs of the Upper Annular Preventer

6.2.4.7 Matching 39-F to 1-A-1-F

The cut at ‘F’ is postulated to be the intervention shear cut of the Riser above the BOP
Stack. 39-F and 1-A-1-F are the matching ends of this cut (see Figure 70). Based on
visual examination, there is a high level of confidence that the cut at ‘F’ was due to the
intervention shear cut.

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Figure 70 Laser Scans of 39-F and 1-A-1-F

6.2.5 Damage on Drill Pipe Segment in Variable Bore Rams

Drill pipe segment 148 was recovered from between the CSR and Lower VBR. The top
end of drill pipe segment 148 (148-A) was cut by the CSR (Figure 56). Drill pipe
segment 148 passed through the Upper and Middle VBRs and ended at the Lower VBR.
Figure 72 shows the Upper VBR matched to segment 148. The two rings of erosion (see
Figure 40 (c)) on segment 148 match to the packer segments in the Upper VBR. Figure
73 shows a similar match for the erosion on segment 148 (Figure 40 (d)) and the packer
segments of the Middle VBR.

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Figure 71 Laser Scans of Drill Pipe Segment 148 passing through the Upper and
Middle VBRs

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Figure 7 Upper VBR m

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6.2.6 Damage to the Wellbore

During inspections of the wellbore, erosion damage was noted at the edges surrounding
the BSR cavity. Although other areas of the wellbore exhibited some erosion damage, the
most significant damage was associated with the BSR. Laser scanning was performed in
this region to assess the erosion damage. The nominal wellbore geometry was modeled
based on measurements of the undamaged locations of the scan models, and verified with
known dimensions where possible. Figure 74 shows the laser scans for the upper and
lower BSR blocks and the wellbore cavity. The damage in the wellbore was located in the
area where the blocks meet (center of the wellbore). Figure 75 shows the overlay
comparison for the wellbore surrounding the BSR cavity. The post damage scan model is

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given in green, while the nominal geometry is overlaid as translucent and outlined. Note
that the laser scanner was unable to capture all of the surface details due to line-of-sight
and access limitations within the wellbore. The erosion damage was much greater on the
kill side of the wellbore than the choke side.

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Figure 74 Laser Scan Showing Overhead View of BSR and Wellbore

(a) Front View (b) Side View

(c) Isometric View

Figure 75 Laser Scan of Wellbore Damage

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A comparative deviation plot for the wellbore damage is given in Figure 76 and Figure
77. Red indicates maximum material loss with an erosion depth of 2.75 inches on the kill
side, and approximately 2.2 inches on the choke side. The kill side erosion channel
extended approximately 9.5 inches up the wellbore from the BSR cavity, while the
erosion damage on the choke side was limited to the first 4 inches above the BSR cavity.

Figure 76 Laser Scan Deviation Plot of the Wellbore on the Kill Side of the BSR

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Figure 77 Laser Scan Deviation Plot of the Wellbore on the Choke Side of the BSR

6.2.7 Other Evidence Assessment

Appendix D is a list of all evidence. The numbering system is sequentially based on the
discovery of the evidence and is based on the FBI ERT protocol. Additional evidence
was recovered from viscous material and debris samples collected from the rams, within

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the ram cavities, and within the wellbore. This evidence was cleaned and photographed
according to protocol from the Forensic Testing Plan Protocol Section 5.14 (Appendix
A).

Evidence retrieved from ram cavities and the wellbore was typically material from the
well intervention effort, rubber, and metallic pieces. Figure 78 to Figure 81 show
examples of retrieved evidence. Various quantities of well intervention material and other
debris were discovered in all cavities and at different locations within the wellbore.

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Figure 78 Photograph Illustrating Cementitious Pieces Discovered in Evidence

(a) oO (b)
Figure 79 Photograph Illustrating Metal Discovered in Evidence

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(a) (b)

Figure 81 Photograph Illustrating Polymeric Discovered in Evidence
6.2.8 Metallurgical, Mechanical, Chemical Property Assessment

6.2.8.1 Sample Preparation and Measurements

Table 19 summarizes the locations on the pipe segments from which test samples were
removed for metallurgical, chemical and mechanical analyses. In total, four 3-inch ring
specimens (Item 1-A-1-Q, Item 1-B-2-Q, Item 94-Q, and Item 148-Q), one 1-inch ring
specimen (Item I-B-1-Q), and two 21-inch specimens (Item 39-Q and Item 83-Q) were
removed. Figure 82 through Figure 88 are photographs of the removed test samples (Item
1-A-1-Q, Item 1-B-1-Q, Item 1-B-2-Q, Item 39-Q, Item 83-Q, Item 94-Q, and Item 148-
Q, respectively). Markings for flow direction, orientation, and item numbers were
indicated on each test sample.

Table 19 Location and Identification of Types of Test Samples

Item Length Samples Removed for Distance from Top End of
Number (inches) Analyses” Pipe Segment (inches)
1-A-1-Q 3 M, C 341.28 to 344,28

39-O 21 M, C, TC 59.19 to 81.19

1-B-2-0” 3 M,C 15.60 to 18.60
1-B-1-Q 1 M 5.38 to 6.38

83-Q 21 M, C, TC 41.75 to 63.75

94-0 3 M,C 19.25 to 22.25

94-0 3 M,C 19.25 to 22.25
148-Q © 3 M,C 114.84 to 117.84

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(1) M= Metallurgical Samples, C = Chemical Samples, TC = Tensile and Charpy Samples
(Mechanicals)

(2) Sample taken toward the end, adjacent to debris recovered in the drill pipe.

(3) Sample removed toward the end away from undeformed end.

(4) Measured from the fractured surface, not the eroded area.

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Figure 83 Photograph of 1-B-1-Q

Figure 84 Photograph of 1-B-2-Q

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Figure 85 Photograph 39-Q

Figure 86 Photograph 83-Q

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Figure 87 Photograph 94-0

Figure 88 Photograph of 148-Q

The diameter of the bottom (U/S) end of each test sample was measured using Pi Tape
(Serial Number 082510143). Measurements were performed in areas that were free of

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debris and undeformed. Table 20 summarizes the diameter measurements taken at the
bottom end of each test sample. All measurements were consistent with 5.5-inch diameter
drill pipe. The wall thicknesses were measured using a micrometer at four locations 90°
from one another at the bottom end of the test samples. The results of the wall thickness
measurements are summarized in Table 21. These values were consistent with 0.361-inch
wall thickness drill pipe.

Table 20 Summary of Diameter Measurements Taken at Bottom End of 1-A-1-Q, 1-
B-1-Q, 39-Q, 83-Q, 94-Q, and 148-Q

Average Diameter API 5D”
Item ID min* | max”
Inches ;
inches

1-B-2-Q 5.56

39-0 5.56

83-0 5.55 5.46 5.70

94-0 5.56

148-Q 5.55

"Wall thickness tolerance was specified as +1/8 (max) and -0.75%D (min) in API 5D (5™ Edition, 2001),
where D is diameter.

Table 21 Wall Thickness Measurements Taken at Bottom End of 1-A-1-Q, 1-B-1-Q,
39-Q, 83-Q, 94-Q, 148-Q, and 1-B-2Q

Wall Thickness on the Upstream End |, , LAPI 5D”
Item ID [0° [ 90° | 180° | 270° ee ymin
inches
1-A-1-Q | 0.401 | 0.404 | 0.408 | 0377 | 0.398
‘One 0.788 | 0.689 | 0.772 | 0.778 | 0.757

39-Q_ | 0.376 | 0.385 | 0.398 | 0.382 0.385 0.316
83-Q 0.385 | 0.381 | 0.386 | 0.393 0.386
94-Q 0.392 | 0.393 | 0.382 | 0.391 0.390
148-Q 0.330 | 0.353 | 0.330 | 0.317 0.333

1-B-2-O | 0.378 | 0.396 | 0.405 | 0.400 0.395
Wall thickness tolerance was -12.5% in API 5D (5" Edition, 2001).
** Wall thickness was consistent with beginning of tool joint upset.

6.2.8.2 Hardness Testing

Prior to metallurgical examination, Rockwell C hardness measurements were performed
on the external surfaces of the test samples. Figure 89 is a photograph of 148-Q showing
the location of Rockwell C hardness measurements on the external surface. Before

5 API SPEC 5DP Specification for Drill Pipe, 5th Edition, 2001

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testing, the external surface was ground with a metal file. Hardness readings were taken
0.5-inches apart starting 0.5-inches from the bottom edge. Table 22 is a summary of the
Rockwell C hardness testing for the specified test samples.

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Figure 89 Photograph of 148-Q Showing the Locations of Rockwell C Hardness
Measurements on the External Surface

Table 22 Results for Rockwell C hardness Tests Conducted on the External
Surfaces on the Test Samples

Item Hardness Average UTS
D 1 | 2 | 3 4 | 5
HRC ksi
1-A-1 27 32 32 30 30 30 138
1-B-1 32 28 28 30 28 29 131
1-B-2 30 33 29 3] 34 31 14]
39 34 33 32 22 35 3] 141
83 35 33 34 31 31 33 149
94 33 34 34 32 34 33 149
148 26 32 32 33 31 31 141

Vickers hardness measurements were performed through thickness on the longitudinal
cross-sections of selected test samples. Figure 90 is a photograph of 39-Q showing the
location of Vickers hardness measurements.

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Hardness readings were taken 0.6-mm apart starting 0.5-mm from the external surface
proceeding to the internal surface. Table 23 is a summary of the Vickers hardness testing
for selected test samples. The corresponding ultimate tensile strength (UTS) values met
the criteria specified in API 5D for Grade $135, drill pipe (minimum 145 ksi).

Figure 90 Photograph of Longitudinal Cross-Section of 39-Q

Table 23 Results for Vickers Hardness Tests Conducted Through Thickness on the
Longitudinal Cross-Sections (see Figure 90)

Hardness (Outside Diameter to Inside Diameter) API
Item Average | UTS 5
iD i1[2][3][4[s5[6[7j]{8 | 9 | 10 5D
HV ksi ksi
1-A-1 | 357 | 366 | 360 | 360 | 354 | 357 | 357 | 357 | 363 | 354 359 164
39 327 | 345 | 345 | 354 | 357 | 351 | 348 | 342 | 342 | 339 345 156 145
83 342 | 342 | 342 | 339 | 336 | 339 | 342 | 339 | 345 | 345 341 154
94 351 | 354 | 366 | 363 | 363 | 366 | 363 | 360 | 360 | 357 360 164

Ultimate Tensile Strength (UTS) from Wilson Conversion Chart, 1968
6.2.8.3 Metallurgical Examination of Drill Pipe

Table 19 indicates the types of tests that were conducted on each test sample. Figure 91 is
a photograph of 39-Q showing the locations for metallurgical, mechanical, and chemical
samples. A 1-inch by 1-inch chemical coupon was removed from the upper most location
on the test sample. A l-inch by 2-inch longitudinal metallurgical coupon was removed
from a location directly counter clockwise from the chemical coupon. A full ring for the
transverse metallurgical coupon was located directly below the longitudinal coupon.
Mechanical coupons were machined from the remaining test sample. Coupons for
metallurgical, mechanical, and chemical analyses were removed from 83-Q in the same
manner.

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Figure 91 Photograph of 39-Q Showing the Locations for Metallurgical,
Mechanical, and Chemical Coupons

Figure 92 is a photograph of 148-Q showing the locations for metallurgical and chemical
coupons. The longitudinal metallurgical coupon, the transverse metallurgical coupon, and
the chemical coupons were removed in the same manner from 1-A-1-Q, 1-B-2-Q, and 94-

Q.

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Figure 92 Photograph of 148-Q Showing the Locations for Metallurgical and
Chemical Coupons

Figure 83 is a photograph of 1-B-1-Q that was prepared for metallurgical analyses. Only
a transverse metallurgical coupon from the top end of the test sample was prepared for
examination. With the exception of 1-B-1-Q, the bottom face of all other 1-inch ring
transverse metallurgical coupons was polished and etched.

Figure 93 is a stereo light photograph near the inside diameter surface of 39-Q. The
internal surface was coated (see yellow and green layer). The coating thickness was
measured to be 8.3 mils (0.21-mm) at the location shown in Figure 93 for 39-Q. 1-A-1-Q
and 1-B-1-Q (sample above tool joint) showed a similar coating on the internal surfaces.
1-B-2-Q, 83-Q, 94-Q, and 148-Q did not have an internal coating. The presence of the
internal coating is indicative of 39-Q, 1-A-1-Q and 1-B-1-Q (above the tool joint) being
from the same drill pipe joint. 1-B-2-Q, 83-Q, 94-Q, and 148-Q are all from a different
drill pipe joint. This is consistent with the proposed stacking of the recovered dnill pipe
segments shown in Figure 55.

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Figure 93 Stereo Light Photograph of Longitudinal Cross-Section of 39-Q

Figure 94 is a light photomicrograph showing the typical microstructure of the pipe steel
in the longitudinal orientation for 39-Q. The microstructure of the pipe steel consisted
primarily of tempered martensite, which is typical for quenched and tempered drill pipe.
Figure 95 is a light photomicrograph showing the typical microstructure of the ptpe steel
in the transverse orientation of 39-Q. The microstructure of the pipe steel consisted
primarily of tempered martensite, which is typical for quenched and tempered drill pipe.
1-A-1-Q had similar microstructures in both the longitudinal and transverse orientation.

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Figure 94 Light Photomicrograph Showing the Typical Microstructure of the Pipe

Steel in the Longitudinal Orientation for 39-Q

Figure 95 Light Photomicrograph Showing the Typical Microstructure of the Pipe
Steel in the Transverse Orientation for 39-Q

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Figure 96 is a light photomicrograph showing the typical microstructure of the pipe steel
in the longitudinal orientation for 1-B-1-Q. The microstructure of the pipe stee] consisted
primarily of tempered martensite and some ferrite grains. The location from which this
specimen was removed was located near the friction weld of the drill pipe to the tool
joint. The ferrite grains are aligned as shown in Figure 96 (banded structure). The drill
pipe wall thickness in this area was 0.69 to 0.79-inch. When compared to the other
microstructures, the presence of ferrite could indicate either compositional variations or
heat treating and quenching differences due to the increased wall thickness .

Figure 96 Light Photomicrograph Showing the Typical Microstructure of the Pipe
Steel in the Transverse Orientation for 1-B-1-Q

Figure 97 is a light photomicrograph showing the typical microstructure of the pipe steel
in the longitudinal orientation for 83-Q. The microstructure of the pipe steel consisted
primarily of tempered martensite, which is typical for quenched and tempered drill pipe.
Figure 98 is a light photomicrograph showing the typical microstructure of the pipe steel
in the transverse orientation of 83-Q. The microstructure of the pipe steel consisted
primarily of tempered martensite, which is typical for quenched and tempered drill pipe.
1-B-2-Q, 94-Q and 148-Q had similar microstructures in both the longitudinal and
transverse orientation.

1-A-1-Q and 39-Q were from a drill pipe joint with an internal coating and 1-B-2-Q, 83-
Q, 94-Q, and 148-Q were all from a drill pipe joint with no internal coating. Comparing

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these two groups, there is no discernable difference in metallurgy of the two drill pipe
joints.

Figure 97 Light Photomicrograph Showing the Typical Microstructure of the Pipe
Steel in the Longitudinal Orientation for 83-Q

Figure 98 Light Photomicrograph Showing the Typical Microstructure of the Pipe
Steel in the Transverse Orientation for 83-Q

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6.2.8.4 Mechanical Testing of Drill Pipe

Figure 99 and Figure 100 show the locations from which coupons were removed from
39-Q and 83-Q, respectively, for mechanical testing. Charpy V-notch coupons were
removed from the top end of the test sample. Tensile samples were removed from a
location approximately 1-inch below the Charpy coupons. In total, four tensile coupons
were removed (Coupons A, B, C, and D), but only two coupons were machined and
tested. Coupons A and C were located 180° from Coupons B and D.

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Figure 99 Photograph of 39-Q Showing the Locations for Mechanical Coupon
Removal

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Figure 100 Photograph of 83-Q Showing the Locations for Mechanical Coupon
Removal

6.2.8.4.1 Tensile Tests

The results of the tensile tests for 39-Q are shown in Table 24. The average yield strength
(YS) and ultimate tensile strength (UTS) of the test coupons were 124.8 ksi and
160.5 ksi, respectively. The UTS values for Coupons 39-C and 39-D met the specified
minimum value in API 5D (minimum 145 ksi). The range for the specified minimum
yield strength (SMYS) in API 5D (135 to 165 ksi) was met for Coupon 39-D, but was not
met for Coupon 39-C. The YS for Coupon 39-C was likely low because the coupon came
from an area that had experienced compressive deformation (i.e., drill pipe segment 39
was bowed and 39-C was from the inside of the bow).

Table 24 Summary of Tensile Test Data for 39-Q

Diameter UTS 0.7 ¥8 Elongation | Reduced Area.
Siem ID Orientation
inches ksi MPa ksi MPa % %
39-C Longitudinal 0.349 1107 110.6 763 26.0 66.8
39-D Longitudinal 0.353 1107 139 958 30.7 65.5
Specification } 0.350 + 0.007
API 5D° min 0.343
max 0.357

The results of the tensile tests for Coupon 83-Q are shown in Table 25. The average yield

strength (YS) and ultimate tensile strength (UTS) of the test coupons were 135.3 ksi and

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156.8 ksi, respectively. The UTS values for Coupons 83-C and 83-D met the specified
minimum value in API 5D (minimum 145 ksi). The range for the specified minimum
yield strength (SMYS) in API 5D (135 to 165 ksi) was met for Coupons 83-C and 83-D.

Table 25 Summary of Tensile Test Data for 83-Q

Diameter UTS 0.7 ¥8 Elongation | Reduced Area
Specimen ID | Grientation
(inches) (ksi) | (MPa) | (ksi) (MPa) {%) (%)
83-C Longitudinal 0.354 158.2 | 1091 135.5 934 13.8 712
$3-D Longitudinal 0.355 155.3 | 1071 135.1 931 13
Specification | 0.350 + 0.007
API 5D* min 0.343

max 0.357

6.2.8.4.2 Charpy Tests

Table 26 summarizes the results of the Charpy testing for 39-Q. Figure 101 and Figure
102 show the Charpy impact energy and percent shear curves for 39-Q, respectively. The
upper shelf impact energy is approximately 72 ft-lbs (%4-size sample). The average
Charpy value for the three 73°F temperature tests was 70 ft-lbs. API 5D specifies a
minimum average of 32 fi-Ibs and a minimum of specimen of 28 ft-lbs. The Charpy
results for 39-Q exceeded the API 5D specifications.”

Table 26 Results of Charpy V-Notch Testing for 39-Q

Speci Test Temperature | Absorbed Energy Lateral Expansion Percent Shear
pecimen ID - -
(PC) (°F) {J) (ft-Ib) (mm) | (inches) (mils) (%)
39-1 23 73 92 68.0 1.32 0.052 §2 81
39-2 0 32 95 70.0 1.14 0.045 45 78
39-3 40 104 95 70.0 1.40 0.055 55 82
39-4 -60 -76 64 47.0 0.80 0.031 3] T7
39-5 -90 -130 33 39.0 0.66 0.026 26 40
39-6 23 73 98 72.0 1.43 0.056 56 81
39-7 -196 -321 14 10.0 0.10 0.004 4 18
39-8 -160 -256 26 19.5 0.25 0.010 10 18
39-9 -175 -283 19 14.0 0.17 0.007 7 12
39-10 -140 -220 30 22,0 0.34 0,013 13 12
39-11 ~ 100 212 o8 72.0 1.44 0.351 351 100
39-12 23 73 o6 71.0 1.35 0.053 53 82
39-13 80 176 92 68.0 1.40 0.055 55 100
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impact Energy (ft-4b}
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2
F

-400 -300 200 100 0 10) 200 300

Temperature (°F}

Figure 101 Charpy V-Notch Impact Energy Plot as a Function of Temperature for
39-Q (Plot of 3/4-size samples)

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-400 -300 -200 -100 0 100 200 300
Temperature (°F)

Figure 102 Percent Shear Plot from Charpy V-Notch Tests as a Function of
Temperature for 39-Q

Table 27 summarizes the results of the Charpy testing for 83-Q. Figure 103 and Figure
104 show the Charpy impact energy and percent shear curves for 83-Q, respectively. The
upper shelf impact energy was approximately 72 ft-lbs (%-size sample). The average

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Charpy value for the three 73°F temperature tests was 72 ft-lbs. API 5D specifies a
minimum average of 32 ft-lbs and a minimum of specimen of 28 ft-lbs. The Charpy
results for 83-Q exceeded the API 5D specifications.”

Table 27 Results of Charpy V-Notch Testing for 83-Q

. Test Temperature | Absorbed Ener Lateral Expansion Percent Shear
Specimen ID - ;
Co) (CF) (J) (ftIb) | (mm) _ | (inches) | (mils) (%)
83-1 23 73 98 72.0 1.05 0.041 41 $1
83-2 0 32 91 67.0 1,27 0.050 50 77
§3-3 40 104 92 68.0 1,32 0.052 52 $2
83-4 -60 -76 7i 52.0 0.82 0.032 32 83
83-5 -90 -130 53 39.0 0.69 0.027 27 54
83-6 23 73 o8 72.0 1.07 0.042 42 82
83-7 -196 -321 2 1.5 0.10 0.004 4 29
83-8 -160 -256 25 18.5 0.24 0.009 9 30
83-9 -175 -283 25 18.5 0.22 0.009 9 19
83-10 -140 -220 27 20.0 0.28 0.011 1i 24
83-11 100 212 95 70.0 1.40 0.055 55 100
83-12 23 73 96 71.0 1.38 0.054 54 81
83-13 80 176 95 70.0 1.45 0.057 57 100
80 1 1
7O . wee 4
60 7 co 4
5 if
= 50 |: Eee
2 40 ¢ o 7
w
%
z 30 + 4
20 | 4
105 |
pe
~400 -300 -200 -100 0 100 200 300

Temperature (°F)

Figure 103 Charpy V-Notch Impact Energy Plot as a Function of Temperature for
83-Q (Plot of 3/4-size samples)

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Q i i | i
-400 -300 -200 -100 Oo 100 200 300
Ternperature {°F}

Figure 104 Percent Shear Plot from Charpy V-Notch Tests as a Function of
Temperature for 83-Q

6.2.8.5 Chemical Analysis of Drill Pipe

Chemical analysis was conducted on coupons removed from 1-A-1-Q, 1-B-2-Q, 39-Q,
83-Q, 93-Q, and 148-Q. The results of the chemical analysis are summarized in Table 28.
The results of the analysis indicate that the pipe steel meets the chemical composition
specifications for API 5D Grade $135, seamless drill pipe.°

Items 1-A-1-G and 39-Q were from a drill pipe joint with an internal coating and 1-B-2-
Q, 83-Q, 94-0, and 148-Q were from a drill pipe joint with no internal coating.
Comparing these two groups, there was no discernable difference in the chemistry of the
two drill pipe joints.

Table 28 Results of Chemical Analysis Compared with Specification for API 5D
Grade 5135, Seamless Drill Pipe

Element 1-A-1-9 | 39-Q 1-B-2-Q $3-Q 94-9 148-Q API 5D
wt wt% wt wt% wt wt% wt
Aluminum 0,022 0,022 0.023 0.023 0.023 0.023 | ==
Boron 0.0006 0.0005 0.0006 0.0005 0.0006 0.0006 | — -----
Carbon 0.24 0.24 0.25 0.24 0.25 0.24 | ----
Cobalt 0.002 0.001 0.004 0.001 | — ---- 0.001 | ss:
Chromium 1.25 1.26 1.25 1.24 1.26 1.25 | sense
Copper 0.10 0.10 0.10 0.10 0.16 0.10 | -----
Tron Balance | Balance | Balance | Balance | Balance | Balance |  -----
Manganese 0,74 0.73 0.73 0.73 0.74 0.73 |  -----
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Element 1-A-1-Q | 39-Q 1-B-2-Q 83-Q 94-0 148-9 API 5D
wt% wt wt% wt% wt% wt% wt%
Molybdenum 0.61 0.62 0.61 0.61 0.61 0.62 | -sue=
Niobium of ---- fmf meee fewer eee | ee
Nickel 0.12 0.12 9.12 0.12 0.12 O12 | eens
Phosphorus 0.006 0.006 0.006 0.006 0.006 0,006 0.030
Sulfur 0.003 0.002 0.003 0.002 0.003 0.003 0.030
Silicon 0,26 0,25 0.26 0,25 0.25 0.25 | nse
Tin 0.054 0.042 0.050 0.050 0.041 0.039 | -----
Titanium 0.016 0.014 0,015 0.015 0.014 0.014 | -—---
Vanadium 0.006 0.006 0.007 0.007 0.007 0.006 | ----
Zirconium 0.007 0.005 0.006 0.005 0.004 0.004 | — -----

6.3 Document Review

The publicly available and Government-provided documents and information, identified
within Appendix C, were reviewed for the purpose of capturing and verifying where
possible, the time of occurrence and descriptions of events that took place relevant to the
BOP, prior to, during, and subsequent to the incident. Event descriptions and
corresponding time occurrences were considered verified if derived from multiple
sources and substantiated based upon consistent information. In only one case was an
event (identified by two information sources and two perspectives) considered non-
verifiable. DNV determined the event to be non-critical and conducted no further review.

Captured events were used to populate a comprehensive timeline for the purpose of
illustrating the sequence of events. It was organized according to perspective or various
original sources of information. The comprehensive timeline is provided within
Appendix F. An illustration of the process used to create the comprehensive timeline is
shown in Figure 105. The timeline was developed as an initial first step within the
forensic investigation process and contains events considered by DNV to represent key
data points. ROV footage was utilized to further substantiate and provide clarification for
specific events. Findings of the ROV footage review are described in Section 6.4.

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Substantiated Event [Multiple Sources/Perspectives]*

ent [Multiple Sources/P:

21-Apr-2010

2L-Apr-2010

* . . . . .
Event descriptions were abbreviated for clarity of the illustration

Figure 105 Timeline Process

Maintenance records, inspection results, and audit reports were reviewed as part of the
document investigation. The events contained within the maintenance records, inspection
results, and audit reports were incorporated into the timeline using the process described
above. The events were also used to establish, to the extent possible, the condition of the
BOP stack at the time of the incident. The information concerning the condition of the
BOP stack provided guidance for the BOP Functionality testing and the Materials
Evaluation and Damage Assessment.

A series of three secondary timelines were developed to assist with the Failure Cause
Analysis:

* Blind Shear Ram Timeline, detailing the time span from the incident on April 20,
2010 until April 29, 2010, when it was concluded that the Blind Shear Rams were
closed. See Figure 108.

e Variable Bore Rams Timeline, detailing the time span from February 1, 2010, until
May 5, 2010, when a final attempt was made to close the VBRs. See Figure 107.

e Annular Preventer Timeline, detailing the time span from January 31, 2010, when the
Deepwater Horizon arrived at the Macondo site, until May 3 2010, when a fourth
ROV attempt was made to close the Lower AP. See Figure 106.

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6.4 Remotely Operated Vehicle Intervention Efforts

Following the incident, there were several attempts to function the rams on the BOP and
to effect repairs to the BOP hydraulic circuits by ROV. In addition, there was continuous
ROV inspection and monitoring of various BOP components. Video footage and still
photographs taken by the ROVs were provided by BOEMRE as part of the incident
investigation documentation. The video footage of particular interest was provided for the
time period from late April 21 to May 4, 2010.

The ROVs were equipped to perform a range of intervention tasks. Each ROV had
robotic arms and pinchers used to grasp tools, including cutting wheels, wrenches, hot
stabs to transfer pressurized fluid, and hose insertion tools. These tools were lowered to
the seabed by a basket and crane. Each ROV had a hydraulic fluid pump on board to
assist with hot stabbing operations. Hydraulic fluid was supplied by lowering
accumulators to the sea floor. During some intervention efforts the hydraulic fluid was
dyed green for visibility, to assist in identifying leaks in the hydraulic circuit.

Video footage and/or photographic stills were provided from the following ROVs:

® C-Express — C-Innovation,

* Boa Sub C - Millennium 36

® Boa Sub C - Millennium 37

e Skandi Neptune - Hercules 6
e Skandi Neptune - Hercules 14

The ROV video footage was reviewed with two objectives:

* To confirm the times, dates and activities referenced by other sources for the purpose
of substantiating and illustrating timeline events.

¢ To provide on going ROV video review support to confirm observations related to the
BOP condition and the origin of leaks and modifications to the hydraulic circuitry.

The video footage of primary interest was from three ROVs: C-Innovation, Millennium
36 and Millennium 37. These ROVs performed intervention work and monitoring after
the incident. The other ROVs (from which video footage was provided) were generally
involved in monitoring activities. The ROV operators completed dive logs during the
course of their intervention efforts. The logs were provided by BOEMRE as part of the
documentation. The dive logs were reviewed and used as guidelines to navigate the
extensive ROV footage. The relevant ROV intervention times and activities were cross-
referenced to supporting documentation and verified activities were then included in the
primary timeline.

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6.4.1 Activation of the Blind Shear Rams

Three different interventions were performed to initiate closure of the BSRs:

* Forced activation of the AMF/Deadman sequence by severing the pressure balance
oil filled (PBOF) cables severing the Pressure Balanced Oil Filled cable between the
Yellow and Blue Control Pods and the pilot pressure lines from the rigid conduit

manifold

e Forced activation of the Autoshear sequence by manually cutting the hydraulic

plunger

e Closure of the BSRs by “hot stabbing” directly into the ROV panel located on the
lower choke side of the BOP

During the course of these activities there were also efforts to close the Middle VBRs by
hot stabbing. It was later determined, on May 3, 2010, that the hydraulic line from the
ROV panel Middle VBR close port was incorrectly connected to the Lower VBRs.

Later ROV interventions involved initiating closure of the CSRs and the Annular

Preventers.

Intervention efforts related to the closing of the BSRs were reviewed and documented in
detail in the primary timeline (Appendix F). Table 29 is a summary of these efforts.

Table 29 Summary of ROV Interventions for BSRs

Date

Time

Activity

Documented Result

April 21, 2010

23:00

C-Innovation attempted to
activate Autoshear

The hydraulic plunger was not cut

April 22, 2010

01:10

C-Innovation attempted to
close BSR by hot stabbing
into the “SHR RAM
CLOSE” port on the ROV
panel.

Unable to raise pressure.

02:45

C-Innovation attempted to
simulate the Automatic

The hydraulic line was severed.
Fluid release from the line was

Mode Function minimal and indicated the line was
(AMF/Deadman) by cutting | not under high pressure.

rigid piping and the PBOF

hydraulic lines

04:40 | Second attempt to activate Unable to cut hydraulic plunger
the Autoshear by cutting the
hydraulic plunger

07:30 | Millennium 37 attempted Hydraulic plunger was successfully
activate the Autoshear by cut.

cutting the hydraulic plunger

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close the BSR by hot .
stabbing into the “SHR RAM
CLOSE” port on the ROV
panel

Date Time | Activity Documented Result
08:00 | Millennium 36 attempted to | Unable to raise pressure. Flow test
close the BSR by hot on mud indicated fluid is flowing.
stabbing into the “SHR RAM
CLOSE” port on the ROV
panel
10:22 Deepwater Horizon sank
April 23, 2010 (No active intervention efforts related to BSR)
April 24, 2010 (No active intervention efforts related to BSR)
Apnil 25, 2010 (No active intervention efforts related to BSR)
April 26, 2010 | 10:45 | Millennium 37 attempted to | Pressure reached 4,400 psig, but
close the BSR by hot was not maintained.
stabbing into the “SHR RAM
CLOSE” port on the ROV
panel
April 26,2010 | 21:45 | Millennium 37 attempted to | Pressure reached 4,500 psig, but
close the BSR by hot was not maintained.
stabbing into the “SHR RAM
CLOSE” port on the ROV
panel
April 27, 2010 | 03:15 | Millennium 37 attempted to | Pressurized to 5,000 psig. Appeared
close the BSR by hot to maintain pressure.
stabbing into the “SHR RAM
CLOSE” port on the ROV
panel -
April 28, 2010 (No active intervention efforts related to BSR)
April 29, 2010 | 21:30 | Millennium 36 attempted to | Pressurized to 5,500 psig. Appeared

to maintain pressure.

ceased

May 10,2010 j - Gamma rays indicated all but | -
one of the ST locks were
closed and locked

May 20,2010 | - ROY intervention activities | -

The first ROV intervention effort related to the closing of the BSRs was an attempt to cut
the Autoshear hydraulic plunger. C-Innovation attempted the cut using a circular saw at
approximately 23:30 hours on the evening of April 21, 2010. The cut was not successful.
Figure 109 shows two images captured from the video footage provided, from before and
after the failed attempt.

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